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                                                                           Reservation Date: From Oct 1, 2012 through Oct 1, 2023
                                                                           Reservation Site: City of Houston Parks and Recreation (HQ)
                                                                           Customer: David Alan McCoy

                       Agent / Organization /                                               Expiration Date /
Permit #               Phone                                    Address                     Status / Site                         Permit Notes                             Total Charges         Balance Due

 30618                  David Alan McCoy                          8000 N. Stadium Drive       N/A                                                                                   $0.00                      0
    May 17, 2016        Houston Department Of Health & Human Houston, TX 77054                Approved
                        Serv. (City of Houston)
    Sonya Ellis         W: 832.393.4953                                                       City of Houston Parks and
                        H: 832.298.7635                                                       Recreation (HQ)

                  Event List         Event                            Facility / Equipment / Instructor Center                    Date(s)

                                     Helping Our Peers Evolve -       Peggy's Point Plaza: Open        Peggy's Point Plaza Park   May 28, 2016 9:00 AM-12:00 PM
                                     Charitable Feeding               Area Space

 30619                  David Alan McCoy                          8000 N. Stadium Drive       N/A                                                                                   $0.00                      0
    May 17, 2016        Houston Department Of Health & Human Houston, TX 77054                Approved
                        Serv. (City of Houston)
    Sonya Ellis         W: 832.393.4953                                                       City of Houston Parks and
                        H: 832.298.7635                                                       Recreation (HQ)

                  Event List         Event                            Facility / Equipment / Instructor Center                    Date(s)

                                     Rego Torivio of Iglesia          Peggy's Point Plaza: Open        Peggy's Point Plaza Park   May 29, 2016 12:00 PM-2:00 PM
                                     Evangelica                       Area Space
                                     Redimidos-Charitable Feed

 30620                  David Alan McCoy                          8000 N. Stadium Drive       N/A                                                                                   $0.00                      0
    May 17, 2016        Houston Department Of Health & Human Houston, TX 77054                Approved
                        Serv. (City of Houston)
    Sonya Ellis         W: 832.393.4953                                                       City of Houston Parks and
                        H: 832.298.7635                                                       Recreation (HQ)

                  Event List         Event                            Facility / Equipment / Instructor Center                    Date(s)

                                     Moved to Compassion-             Peggy's Point Plaza: Open        Peggy's Point Plaza Park   May 21, 2016 3:30 PM-6:30 PM
                                     Charitable Feeding               Area Space

 30625                  David Alan McCoy                          8000 N. Stadium Drive       N/A                                                                                   $0.00                      0
    May 17, 2016        Houston Department Of Health & Human Houston, TX 77054                Approved
                        Serv. (City of Houston)
    Sonya Ellis         W: 832.393.4953                                                       City of Houston Parks and
                        H: 832.298.7635                                                       Recreation (HQ)

                  Event List         Event                            Facility / Equipment / Instructor Center                    Date(s)

                                     Ismail Paligu of the Islamic     Peggy's Point Plaza: Open        Peggy's Point Plaza Park   Jun 11, 2016 10:30 AM-11:30 AM
                                     Institute - Charitable Feeding   Area Space


                                                                                                                                                                                            COH 000182
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                                                                          Reservation Site: City of Houston Parks and Recreation (HQ)
                                                                          Customer: David Alan McCoy

                       Agent / Organization /                                             Expiration Date /
Permit #               Phone                                    Address                   Status / Site                          Permit Notes                                Total Charges         Balance Due

 30626                  David Alan McCoy                        8000 N. Stadium Drive       N/A                                                                                       $0.00                      0
    May 17, 2016        Houston Department Of Health & Human Houston, TX 77054              Approved
                        Serv. (City of Houston)
    Sonya Ellis         W: 832.393.4953                                                     City of Houston Parks and
                        H: 832.298.7635                                                     Recreation (HQ)

                  Event List         Event                          Facility / Equipment / Instructor Center                     Date(s)

                                     Cameron Cares - Charitable     Peggy's Point Plaza: Open        Peggy's Point Plaza Park    Jun 22, 2016 4:00 PM-7:00 PM
                                     Feeding                        Area Space

 30687                  David Alan McCoy                        8000 N. Stadium Drive       N/A                                                                                       $0.00                      0
    May 20, 2016        Houston Department Of Health & Human Houston, TX 77054              Approved
                        Serv. (City of Houston)
    Sonya Ellis         W: 832.393.4953                                                     City of Houston Parks and
                        H: 832.298.7635                                                     Recreation (HQ)

                  Event List         Event                          Facility / Equipment / Instructor Center                     Date(s)

                                     Hebron SDA Church -            Peggy's Point Plaza: Open        Peggy's Point Plaza Park    May 22, 2016 11:00 AM-12:00 PM
                                     Charitable Feeding             Area Space

 30688                  David Alan McCoy                        8000 N. Stadium Drive       N/A                                                                                       $0.00                      0
    May 20, 2016        Houston Department Of Health & Human Houston, TX 77054              Approved
                        Serv. (City of Houston)
    Sonya Ellis         W: 832.393.4953                                                     City of Houston Parks and
                        H: 832.298.7635                                                     Recreation (HQ)

                  Event List         Event                          Facility / Equipment / Instructor Center                     Date(s)

                                     Hard Head Royalty Club -       Peggy's Point Plaza: Open        Peggy's Point Plaza Park    May 22, 2016 1:00 PM-3:00 PM
                                     Charitable Feeding             Area Space

 30689                  David Alan McCoy                        8000 N. Stadium Drive       N/A                                                                                       $0.00                      0
    May 20, 2016        Houston Department Of Health & Human Houston, TX 77054              Approved
                        Serv. (City of Houston)
    Sonya Ellis         W: 832.393.4953                                                     City of Houston Parks and
                        H: 832.298.7635                                                     Recreation (HQ)

                  Event List         Event                          Facility / Equipment / Instructor Center                     Date(s)

                                     New Perspective Development - Peggy's Point Plaza: Open         Peggy's Point Plaza Park    Jun 4, 2016 1:00 PM-4:00 PM
                                     Charitable Feeding            Area Space



                                                                                                                                                                                              COH 000183
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                                                                        Reservation Site: City of Houston Parks and Recreation (HQ)
                                                                        Customer: David Alan McCoy

                     Agent / Organization /                                             Expiration Date /
Permit #             Phone                                    Address                   Status / Site                          Permit Notes                             Total Charges         Balance Due

 30808                David Alan McCoy                        8000 N. Stadium Drive       N/A                                                                                    $0.00                      0
    May 26, 2016      Houston Department Of Health & Human Houston, TX 77054              Approved
                      Serv. (City of Houston)
    Shawna Baldwin    W: 832.393.4953                                                     City of Houston Parks and
                      H: 832.298.7635                                                     Recreation (HQ)

              Event List           Event                          Facility / Equipment / Instructor Center                     Date(s)

                                   His Compassion/ Charitable     Peggy's Point Plaza: Open        Peggy's Point Plaza Park    May 28, 2016 1:00 PM-3:00 PM
                                   Feeding                        Area Space

 30811                David Alan McCoy                        8000 N. Stadium Drive       N/A                                                                                    $0.00                      0
    May 26, 2016      Houston Department Of Health & Human Houston, TX 77054              Approved
                      Serv. (City of Houston)
    Shawna Baldwin    W: 832.393.4953                                                     City of Houston Parks and
                      H: 832.298.7635                                                     Recreation (HQ)

              Event List           Event                          Facility / Equipment / Instructor Center                     Date(s)

                                   Truc Lam Meditation Center/    Peggy's Point Plaza: Open        Peggy's Point Plaza Park    Jun 2, 2016 9:00 AM-10:30 AM
                                   Charitable Feeding #30811      Area Space                                                   Jun 9, 2016 9:00 AM-10:30 AM
                                                                                                                               Jun 16, 2016 9:00 AM-10:30 AM
                                                                                                                               Jun 23, 2016 9:00 AM-10:30 AM
                                                                                                                               Jun 30, 2016 9:00 AM-10:30 AM

 30825                David Alan McCoy                        8000 N. Stadium Drive       N/A                                                                                    $0.00                      0
    May 26, 2016      Houston Department Of Health & Human Houston, TX 77054              Approved
                      Serv. (City of Houston)
    Shawna Baldwin    W: 832.393.4953                                                     City of Houston Parks and
                      H: 832.298.7635                                                     Recreation (HQ)

              Event List           Event                          Facility / Equipment / Instructor Center                     Date(s)

                                   Truc Lam Meditation Center/    Henderson (Earl) Park: Open      Henderson (Earl) Park       Jun 5, 2016 7:30 AM-9:00 AM
                                   Charitable Feeding #30825      Area Space                                                   Jun 12, 2016 7:30 AM-9:00 AM
                                                                                                                               Jun 19, 2016 7:30 AM-9:00 AM
                                                                                                                               Jun 26, 2016 7:30 AM-9:00 AM

 30827                David Alan McCoy                        8000 N. Stadium Drive       N/A                                                                                    $0.00                      0
    May 26, 2016      Houston Department Of Health & Human Houston, TX 77054              Approved
                      Serv. (City of Houston)
    Shawna Baldwin    W: 832.393.4953                                                     City of Houston Parks and
                      H: 832.298.7635                                                     Recreation (HQ)

              Event List           Event                          Facility / Equipment / Instructor Center                     Date(s)

                                   Christ Temple/Charitable       Peggy's Point Plaza: Open        Peggy's Point Plaza Park    Jun 17, 2016 6:00 PM-7:00 PM                              COH 000184
                                   Feeding                        Area Space
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                                                                          Customer: David Alan McCoy

                      Agent / Organization /                                              Expiration Date /
Permit #              Phone                                     Address                   Status / Site                          Permit Notes                             Total Charges         Balance Due
                                    Feeding                         Area Space

 30842                 David Alan McCoy                         8000 N. Stadium Drive       N/A                                                                                    $0.00                      0
    May 26, 2016       Houston Department Of Health & Human Houston, TX 77054               Approved
                       Serv. (City of Houston)
    Shawna Baldwin     W: 832.393.4953                                                      City of Houston Parks and
                       H: 832.298.7635                                                      Recreation (HQ)

              Event List            Event                           Facility / Equipment / Instructor Center                     Date(s)

                                    Club Ministry/ Charitable       Tranquillity Park:Lower Open     Tranquillity Park           Jun 18, 2016 8:00 AM-11:00 AM
                                    Feeding #30842                  Area Space

 30848                 David Alan McCoy                         8000 N. Stadium Drive       N/A                                                                                    $0.00                      0
    May 27, 2016       Houston Department Of Health & Human Houston, TX 77054               Approved
                       Serv. (City of Houston)
    Shawna Baldwin     W: 832.393.4953                                                      City of Houston Parks and
                       H: 832.298.7635                                                      Recreation (HQ)

              Event List            Event                           Facility / Equipment / Instructor Center                     Date(s)

                                    Breakfast Club Ministry/        Peggy's Point Plaza: Open        Peggy's Point Plaza Park    Jun 4, 2016 8:00 AM-11:00 AM
                                    Charitable Feeding              Area Space

 30895                 David Alan McCoy                         8000 N. Stadium Drive       N/A                                                                                    $0.00                      0
    May 31, 2016       Houston Department Of Health & Human Houston, TX 77054               Approved
                       Serv. (City of Houston)
    Marisela Blanco    W: 832.393.4953                                                      City of Houston Parks and
                       H: 832.298.7635                                                      Recreation (HQ)

              Event List            Event                           Facility / Equipment / Instructor Center                     Date(s)

                                    Eloisa Vivian/ Charitable       Peggy's Point Plaza: Open        Peggy's Point Plaza Park    Jun 1, 2016 8:00 AM-10:00 AM
                                    Feeding                         Area Space                                                   Jun 5, 2016 8:00 AM-10:00 AM
                                                                                                                                 Jun 8, 2016 8:00 AM-10:00 AM
                                                                                                                                 Jun 12, 2016 8:00 AM-10:00 AM
                                                                                                                                 Jun 15, 2016 8:00 AM-10:00 AM
                                                                                                                                 Jun 19, 2016 8:00 AM-10:00 AM
                                                                                                                                 Jun 22, 2016 8:00 AM-10:00 AM
                                                                                                                                 Jun 26, 2016 8:00 AM-10:00 AM
                                                                                                                                 Jun 29, 2016 8:00 AM-10:00 AM




                                                                                                                                                                                           COH 000185
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                                                                               Customer: David Alan McCoy

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 30924                  David Alan McCoy                           8000 N. Stadium Dr.          N/A                                                                                     $0.00                      0
    Jun 1, 2016          (City of Houston)                         Suite 200                    Approved
    Marisela Blanco     W: 832.393.4953                            Houston, TX 77054            City of Houston Parks and
                        H: 832.298.7635                                                         Recreation (HQ)

                  Event List           Event                           Facility / Equipment / Instructor Center                       Date(s)

                                       King's Touch / Charitable       Peggy's Point Plaza: Open        Peggy's Point Plaza Park      Jun 2, 2016 11:30 AM-12:30 PM
                                       Feeding                         Area Space                                                     Jun 9, 2016 11:30 AM-12:30 PM
                                                                                                                                      Jun 16, 2016 11:30 AM-12:30 PM
                                                                                                                                      Jun 23, 2016 11:30 AM-12:30 PM
                                                                                                                                      Jun 30, 2016 11:30 AM-12:30 PM

 30926                  David Alan McCoy                           8000 N. Stadium Drive        N/A                                                                                     $0.00                      0
    Jun 1, 2016         Houston Department Of Health & Human Houston, TX 77054                  Approved
                        Serv. (City of Houston)
    Marisela Blanco     W: 832.393.4953                                                         City of Houston Parks and
                        H: 832.298.7635                                                         Recreation (HQ)

                  Event List           Event                           Facility / Equipment / Instructor Center                       Date(s)

                                       Zaheer Zahidi/Charitable        Henderson (Earl) Park: Picnic    Henderson (Earl) Park         Jun 12, 2016 10:00 AM-12:00 PM
                                       Feeding                         Pavilion                                                       Jun 19, 2016 10:00 AM-12:00 PM
                                                                                                                                      Jun 26, 2016 10:00 AM-12:00 PM

 30957                  David Alan McCoy                           8000 N. Stadium Drive        N/A                                                                                     $0.00                      0
    Jun 3, 2016         Houston Department Of Health & Human Houston, TX 77054                  Approved
                        Serv. (City of Houston)
    Shawna Baldwin      W: 832.393.4953                                                         City of Houston Parks and
                        H: 832.298.7635                                                         Recreation (HQ)

                  Event List           Event                           Facility / Equipment / Instructor Center                       Date(s)

                                       Cecilia Alegandre/ Charitable   Peggy's Point Plaza: Open        Peggy's Point Plaza Park      Jun 11, 2016 12:30 PM-2:30 PM
                                       Feeding #30957                  Area Space

 30983                  David Alan McCoy                           8000 N. Stadium Drive        N/A                                                                                     $0.00                      0
    Jun 6, 2016         Houston Department Of Health & Human Houston, TX 77054                  Approved
                        Serv. (City of Houston)
    Sonya Ellis         W: 832.393.4953                                                         City of Houston Parks and
                        H: 832.298.7635                                                         Recreation (HQ)

                  Event List           Event                           Facility / Equipment / Instructor Center                       Date(s)

                                       Moved to Compassion -           Peggy's Point Plaza: Open        Peggy's Point Plaza Park      Jun 25, 2016 4:00 PM-7:00 PM
                                       Charitable Feeding              Area Space
                                                                                                                                                                                                COH 000186
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                                                                           Customer: David Alan McCoy

                       Agent / Organization /                                              Expiration Date /
Permit #               Phone                                     Address                   Status / Site                          Permit Notes                                 Total Charges         Balance Due

 31014                  David Alan McCoy                         8000 N. Stadium Drive       N/A                                                                                        $0.00                      0
    Jun 7, 2016         Houston Department Of Health & Human Houston, TX 77054               Approved
                        Serv. (City of Houston)
    Sonya Ellis         W: 832.393.4953                                                      City of Houston Parks and
                        H: 832.298.7635                                                      Recreation (HQ)

                  Event List         Event                           Facility / Equipment / Instructor Center                     Date(s)

                                     Yewon Missions - Charitable     Peggy's Point Plaza: Open        Peggy's Point Plaza Park    Jun 7, 2016 7:30 AM-10:00 AM
                                     Feeding                         Area Space                                                   Jun 14, 2016 7:30 AM-10:00 AM
                                                                                                                                  Jun 21, 2016 7:30 AM-10:00 AM
                                                                                                                                  Jun 28, 2016 7:30 AM-10:00 AM

 31156                  David Alan McCoy                         8000 N. Stadium Drive       N/A                                                                                        $0.00                      0
    Jun 14, 2016        Houston Department Of Health & Human Houston, TX 77054               Approved
                        Serv. (City of Houston)
    Sonya Ellis         W: 832.393.4953                                                      City of Houston Parks and
                        H: 832.298.7635                                                      Recreation (HQ)

                  Event List         Event                           Facility / Equipment / Instructor Center                     Date(s)

                                     Helping Our Peers               Peggy's Point Plaza: Open        Peggy's Point Plaza Park    Jun 18, 2016 9:00 AM-12:00 PM
                                     Evolve-Charitable Feeding       Area Space

 31177                  David Alan McCoy                         8000 N. Stadium Drive       N/A                                                                                        $0.00                      0
    Jun 15, 2016        Houston Department Of Health & Human Houston, TX 77054               Approved
                        Serv. (City of Houston)
    Shawna Baldwin      W: 832.393.4953                                                      City of Houston Parks and
                        H: 832.298.7635                                                      Recreation (HQ)

                  Event List         Event                           Facility / Equipment / Instructor Center                     Date(s)

                                     The Oasis of Love/ Charitable   Peggy's Point Plaza: Open        Peggy's Point Plaza Park    Jul 4, 2016 10:30 AM-1:30 PM
                                     Feeding #31177                  Area Space

 31212                  David Alan McCoy                         8000 N. Stadium Drive       N/A                                                                                        $0.00                      0
    Jun 17, 2016        Houston Department Of Health & Human Houston, TX 77054               Approved
                        Serv. (City of Houston)
    Sonya Ellis         W: 832.393.4953                                                      City of Houston Parks and
                        H: 832.298.7635                                                      Recreation (HQ)

                  Event List         Event                           Facility / Equipment / Instructor Center                     Date(s)

                                     Calvery Church-Charitable       Peggy's Point Plaza: Open        Peggy's Point Plaza Park    Jun 18, 2016 5:00 PM-6:00 PM
                                     Feeding                         Area Space

                                                                                                                                                                                                COH 000187
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                                                                        Customer: David Alan McCoy

                       Agent / Organization /                                            Expiration Date /
Permit #               Phone                                  Address                    Status / Site                         Permit Notes                                 Total Charges         Balance Due

 31213                  David Alan McCoy                       8000 N. Stadium Drive       N/A                                                                                       $0.00                      0
    Jun 17, 2016        Houston Department Of Health & Human Houston, TX 77054             Approved
                        Serv. (City of Houston)
    Sonya Ellis         W: 832.393.4953                                                    City of Houston Parks and
                        H: 832.298.7635                                                    Recreation (HQ)

                  Event List         Event                         Facility / Equipment / Instructor Center                    Date(s)

                                     Elva Ramos-Charitable Feeding Peggy's Point Plaza: Open        Peggy's Point Plaza Park   Jun 18, 2016 1:00 PM-3:00 PM
                                                                   Area Space

 31255                  David Alan McCoy                       8000 N. Stadium Drive       N/A                                                                                       $0.00                      0
    Jun 21, 2016        Houston Department Of Health & Human Houston, TX 77054             Approved
                        Serv. (City of Houston)
    Marisela Blanco     W: 832.393.4953                                                    City of Houston Parks and
                        H: 832.298.7635                                                    Recreation (HQ)

                  Event List         Event                         Facility / Equipment / Instructor Center                    Date(s)

                                     Solution House / Charitable   Peggy's Point Plaza: Open        Peggy's Point Plaza Park   Jul 2, 2016 9:00 AM-12:00 PM
                                     Feeding                       Area Space

 31257                  David Alan McCoy                       8000 N. Stadium Drive       N/A                                                                                       $0.00                      0
    Jun 22, 2016        Houston Department Of Health & Human Houston, TX 77054             Approved
                        Serv. (City of Houston)
    Sonya Ellis         W: 832.393.4953                                                    City of Houston Parks and
                        H: 832.298.7635                                                    Recreation (HQ)

                  Event List         Event                         Facility / Equipment / Instructor Center                    Date(s)

                                     Truc Lam Meditation Center    Henderson (Earl) Park: Picnic    Henderson (Earl) Park      Jul 3, 2016 9:00 AM-10:30 AM
                                     -Charitable Feeding           Pavilion                                                    Jul 10, 2016 9:00 AM-10:30 AM
                                     Truc Lam Meditation Center    Henderson (Earl) Park: Open      Henderson (Earl) Park      Jul 3, 2016 9:00 AM-10:30 AM
                                     -Charitable Feeding           Area Space                                                  Jul 10, 2016 9:00 AM-10:30 AM

 31297                  David Alan McCoy                       8000 N. Stadium Drive       N/A                                                                                       $0.00                      0
    Jun 23, 2016        Houston Department Of Health & Human Houston, TX 77054             Approved
                        Serv. (City of Houston)
    Sonya Ellis         W: 832.393.4953                                                    City of Houston Parks and
                        H: 832.298.7635                                                    Recreation (HQ)

                  Event List         Event                         Facility / Equipment / Instructor Center                    Date(s)

                                     New Perspective Development Henderson (Earl) Park: Picnic      Henderson (Earl) Park      Jun 25, 2016 12:00 PM-3:00 PM
                                                                 Pavilion
                                     New Perspective Development Henderson (Earl) Park: Open        Henderson (Earl) Park      Jun 25, 2016 12:00 PM-3:00 PM
                                                                 Area Space
                                                                                                                                                                                             COH 000188
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                                                        Customer: David Alan McCoy

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                                                                                            Total # of Permits: 170            Grand Total:         $0.00               $0.00
                                                                                                                                                       RS II
W = Work Phone H = Home Phone




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